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                                                           KISHA WIGGINS
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                                        PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

                                               Malcolm ♦ Cisneros, A Law Corporation
                                              2112 Business Center Drive, Second Floor
                                                          Irvine, CA 92612

A true and correct copy of the foregoing document entitled: NOTICE OF LODGMENT OF ORDER IN BANKRUPTCY
CASE and DECLARATION OF KISHA WIGGINS RE: DEFAULT UNDER ADEQUATE PROTECTION ORDER;
REQUEST FOR ENTRY OF ORDER GRANTING RELIEF FROM STAY will be served or was served (a) on the judge in
chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
10/7/2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

    •   Rod Danielson (TR) notice-efile@rodan13.com
    •   Julia Doan askbk@resurgent.com
    •   Christina J Khil christinao@mclaw.org, CACD_ECF@mclaw.org;mcecfnotices@ecf.courtdrive.com
    •   Rabin J. Pournazarian rabin@pricelawgroup.com, rabin@pricelawgroup.com
    •   United States Trustee (RS) ustpregion16.rs.ecf@usdoj.gov

                                                                                           Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On 10/7/2022, I served the following persons and/or entities at the last known
addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

DEBTOR: Salvador Medina, 11831 Cambridge Street, Adelanto, CA 92301


                                                                                           Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on _______________, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

                                                                                           Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 10/7/2022                     Diep Quach                                                      /s/ Diep Quach
 Date                         Printed Name                                                     Signature




        This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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